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Case: 23-2181

UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No, 23-2181

Andrew Ritz and Michael Ritz vs. Nissan-Infiniti LT, et al.

ENTRY OF APPEARANCE

Please list the names of all parties represented, using additional sheet(s) if necessary:

Nissan Motor Acceptance Company, LLC improperly pled as Nissan-Infiniti LT

Indicate the party’s role IN THIS COURT (check only one):

{] Petitioner(s) [1 Appellant(s) Ll Intervenor(s)
[] Respondent(s) Appellee(s) Ed Amicus Curiae

(Type or Print) Counsel’s Name Steven L. Fox, Esq.

Mr. LT] Ms. LL Mrs. LI] Miss LI Mx.

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SIGNATURE OF COUNSEL: a €

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COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
NOTICES OR COPIES OF DOCUMENTS INCLUDING BRIEFS AND APPENDICES. ONLY
ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney

Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attomeys.

REV. 10/20/2020
